
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 97-1683

                                    DALE BRAMBLE,
                                Plaintiff - Appellant,

                                          v.

                            AMERICAN POSTAL WORKERS UNION,
                              AFL-CIO PROVIDENCE LOCAL,
                                Defendant - Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Godbold,* Senior Circuit Judge,
                                     ____________________

                           and Barbadoro,** District Judge.
                                            ______________

                                _____________________

               Kevin J. McAllister, with  whom Brennan, Recupero, Cascione,
               ___________________             ____________________________
          Scungio &amp; McAllister was on brief for appellant.
          ____________________
               Paul F. Kelly,  with whom Anne R. Sills and Segal, Roitman &amp;
               _____________             _____________     ________________
          Coleman were on brief for appellee.
          _______



                                 ____________________

                                   January 27, 1998
                                 ____________________

                              
          ____________________

          *  Of the Eleventh Circuit, sitting by designation.

          **  Of the District of New Hampshire, sitting by designation.














                    TORRUELLA,  Chief  Judge.   Dale  F.  Bramble  sued his
                    TORRUELLA,  Chief  Judge.
                                ____________

          employer, the American Postal Workers, AFL-CIO, Providence, Rhode

          Island Area Local,  (the "Union") under the Age Discrimination in

          Employment  Act of  1967 ("ADEA"),  29 U.S.C.     621-34,  in the

          Federal  District Court  of Rhode  Island.   He alleges  that the

          Union discriminated against  him on the basis of  his age when it

          adopted  a new  salary structure  for his  office of  Local Union

          President, effectively eliminating his  salary.  Bramble  brought

          this suit under both a disparate treatment and a disparate impact

          theory of  recovery.   The district court  dismissed the  case on

          summary judgment  and  this  appeal  followed.   See  Bramble  v.
                                                           ___  _______

          American  Postal Workers Union, AFL-CIO,  963 F. Supp. 90 (D.R.I.
          _______________________________________

          1997).  We affirm.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    The   following  facts   are  essentially   undisputed.

          Bramble,  a  United  States  Postal  Service  ("Postal  Service")

          worker, was first  elected to the Union presidency  in 1974.  For

          eleven years thereafter, he held the post while working full-time

          at the  postal service.   In 1985,  the Union  voted to  make the

          presidency a full-time position.  The Union paid Bramble a $3,000

          stipend plus the equivalent  of his old salary.  In  spite of the

          fact  that he  was  no longer  drawing a  salary from  the Postal

          Service,  Bramble maintained  his  status  as  an  active  Postal

          Service employee as he continued to hold the presidency.

                    In November 1991,  Bramble was re-elected as  the Union

          president in a  close three-way race in which he garnered only 35


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          percent of the vote.  The year following his re-election, Bramble

          accepted an early retirement package from the Postal Service.  At

          that  point, Bramble began drawing  a federal pension in addition

          to his full salary as Union president.

                    In  January  1993,  with  the  majority  of  the  Union

          opposing  Bramble's administration,  an  amendment to  the  Union

          constitution  was adopted  by a  vote  of 34-23.   The  amendment

          revised the salary structure of the Union presidency from a fixed

          rate to a  rate that  was tied  to the president's  salary as  an

          active Postal  Service employee.   According to this  "active pay

          status" rate,  any Union president  receives a $3,000  stipend in

          addition to the salary he or she would receive in accordance with

          his or her active status with the Postal Service.1

                    Pursuant to  the new  policy,  more experienced  postal

          workers  serving as president  receive higher salaries  than less

          experienced workers  holding the same position,  while presidents

          who are retired or on disability receive a mere $3,000 in  annual

          compensation.   Because  Bramble was retired,  the salary  he was

          receiving in addition to the stipend was eliminated.   It is also

          undisputed that  Bramble was disliked  by many in the  union, and

          that  the amendment  was intended  by many,  if not  all, of  its

          supporters as a means to force Bramble's resignation.  On July 1,

          1993, Bramble did just that.
                              
          ____________________

          1  The original amendment  to the Union constitution was somewhat
          confusing,  but a subsequent amendment was adopted to clarify the
          "active pay status" policy.  The district court opinion refers to
          this  "active  pay status"  policy  as  the  "no loss,  no  gain"
          amendment.  See Bramble, 963 F. Supp. at 93.
                      ___ _______

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                    Two  weeks  later,  Bramble brought  this  suit  in the

          Federal District Court of Rhode Island alleging that  the Union's

          actions  amounted  to  a constructive  discharge  based  upon age

          discrimination  in  violation  of  the  ADEA,  29 U.S.C.     626.

          Bramble sued the Union in both its  capacity as an "employer" and

          as a "labor  union" under the ADEA.   Bramble's amended complaint

          employed both disparate  treatment and disparate  impact theories

          of recovery.   In his disparate treatment  claim, Bramble alleges

          that the  defendant used his eligibility for  retirement, a proxy

          for  his  age, as  a  means to  force him  from  office.   In his

          disparate  impact  claim,  Bramble alleges  that  the  new salary

          structure is  a  policy which  disproportionately affects  people

          protected by the ADEA.  The district court dismissed this case on

          summary judgment, concluding that there was insufficient evidence

          to create a genuine dispute as to whether the Union was motivated

          by age-based  animus and  that business  necessity justified  the

          Union's new policy.

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          I.  Jurisdiction
          I.  Jurisdiction

                    As a  preliminary matter,  the Union  claims that  this

          court does not have jurisdiction over this case because the Union

          is  not covered  as  an "employer"  under the  ADEA, 29  U.S.C.  

          623(a).  An  employer is only subject  to the ADEA if  it employs

          "twenty or more employees for each  working day in each of twenty

          or more  calendar  weeks in  the  current or  preceding  calendar

          year."  29  U.S.C.   630(b).  The  Union claims that  Bramble was


                                         -4-














          its only  true employee and that it is  thus outside the scope of

          the ADEA.   This argument is  bolstered by an examination  of the

          Union's W-3  forms, which  reveal that,  while over thirty  union

          "employees" received some  form of compensation during  the years

          at issue, almost all of  these "employees" received less than one

          thousand  dollars per  year.    While this  fact  casts doubt  on

          whether twenty or  more employees were actually engaged  in Union

          work for each working day  in twenty or more calendar weeks,  the

          record at this stage  of the case does not  contain any schedules

          or time  sheets to indicate when  employees were at the  Union or

          engaged in Union  duties.  Construing this limited  record in the

          light most favorable to Bramble, we must conclude that there is a

          genuine issue of material fact regarding the qualification of the

          Union as an "employer" under sections 623(a) and 630.  Therefore,

          it is premature for this court to declare that the district court

          acted  without   proper  subject  matter  jurisdiction   when  it

          considered the merits of this case for summary judgment purposes.

                    Furthermore,  "'[i]t is a  familiar tenet that  when an

          appeal presents a  jurisdictional quandry, yet the  merits of the

          underlying issue,  if reached, will  in any event be  resolved in

          favor of the party challenging the court's jurisdiction, then the

          court may forsake the jurisdictional riddle and simply dispose of

          the appeal on  the merits.'"  See  Rojas v. Fitch, 127  F.3d 184,
                                        ___  _____    _____

          187 (1st Cir. 1997) (quoting Hachikian  v. FDIC, 96 F.3d 502, 506
                                       _________     ____

          n.4 (1st Cir. 1996)).  In light of the fact that summary judgment




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          for the Union is affirmed  herein, we are not inclined  to remand

          on jurisdictional grounds.

                    The Union  also  argues  that it  is  not  required  to

          conform  to  ADEA  requirements  because  it  is   not  a  "labor

          organization" covered  by section   623(c).  A labor organization

          under the ADEA represents employees of  a covered "employer," and

          any  corporation  wholly  owned  by  the  federal  government  is

          specifically excluded from the  ADEA's definition of  "employer."

          See 29 U.S.C.   630(b).  However,  if the Union is subject to the
          ___

          requirements of the ADEA by virtue of its status as an "employer"
                                                ___

          under section  623(a) and is  being sued in that  capacity, it is

          irrelevant  whether it also  qualifies as a  "labor organization"

          under  section 623(c).   Thus, the Union's  second jurisdictional

          argument has been mooted by  our finding that summary judgment on

          the issue of subject matter jurisdiction would be premature.

          II.  Disparate Treatment
          II.  Disparate Treatment

                    Review  of a district court's award of summary judgment

          is de novo.   See United Nat'l  Ins. Co. v. Penuche's,  Inc., 128
             _______    ___ ______________________    ________________

          F.3d 28,  30 (1st Cir. 1997).   We view the entire  record in the

          light most  hospitable to  the party  opposing summary  judgment,

          indulging  all reasonable inferences in  that party's favor.  See
                                                                        ___

          Ahern v. O'Donnell, 109 F.3d 809, 811 (1st Cir. 1997).
          _____    _________

                    The ADEA was promulgated  by Congress out of a  concern

          that   older   workers   were  being   deprived   of   employment

          opportunities  due  to  inaccurate  stereotypes.    See  EEOC  v.
                                                              ___  ____

          Wyoming,  460 U.S.  226, 231  (1983).   To establish  a disparate
          _______


                                         -6-














          treatment claim under the ADEA, an employee must show that he was

          treated adversely because  of his age.  Mesnick  v. General Elec.
                                                  _______     _____________

          Co., 950 F.2d  816, 823 (1st  Cir. 1991), cert. denied,  504 U.S.
          ___                                       ____________

          985 (1992).  To survive summary judgment, the employee must first

          either present  direct evidence of  discrimination or make  out a

          prima facie case of discrimination, invoking the  burden-shifting

          framework of McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-
                       _______________________    _____

          05 (1973).  See Mesnick,  950 F.2d at 823.   In this case,  there
                      ___ _______

          was  no direct evidence  of discrimination.2   Therefore, Bramble

          was required  to make out  a prima facie case  demonstrating that

          (1) he was over the age of forty; (2) his work was sufficient  to

          meet his  employer's  legitimate expectations;  (3) his  employer

          took adverse  action against him;  and (4) the employer  sought a

          replacement with  roughly  equivalent  job  qualifications,  thus

          revealing a continued need for the same services and skills.  See
                                                                        ___

          id. (citing Hebert v. Mohawk Rubber Co., 872 F.2d 1104, 1110 (1st
          ___         ______    _________________

          Cir. 1989)).

                    Bramble's   claim   was   different   from   most   age

          discrimination claims insofar  as he held an elected  office.  He
                                                       _______

          was  employed collectively by the union  members.  This obviously

          complicated  Bramble's task  of showing discriminatory  animus on

          the  part  of  his  employer.    The decision  to  constructively

                              
          ____________________

          2  Bramble argues that some direct evidence of discrimination did
          exist in  this case.   He  points to  a comment  made by a  union
          member on  the floor  prior  to the  vote on  the amended  salary
          structure,  referring to  Bramble  as  "the  retired  President."
          However,  this  comment  plainly  provides  no  evidence  of  age
          discrimination.

                                         -7-














          discharge Bramble was made by a majority of the 57 members of the

          union electorate who  voted on the amendment, and,  as courts are

          acutely aware, determining  the "motive" behind a  policy adopted

          via popular vote is a monumental challenge.  See e.g., O'Brien v.
                                                       ___ ____  _______

          United States,  391 U.S.  367, 383-84  (1968) ("[i]nquiries  into
          _____________

          congressional motives or purposes are a  hazardous matter").  For

          example,  the requirement that  Bramble's work be  "sufficient to

          meet his employer's legitimate expectations" effectively became a

          requirement that Bramble  be a successful  politician.  Here  was

          where  Bramble's improbable effort to prove age discrimination on

          the part of an entire union electorate ultimately failed.

                    Dale Bramble  eventually  lost favor  with  his  Postal

          Worker constituents.  Bramble's counsel  may have stated it  most

          succinctly when he stated that "there were a lot of people in the

          Union who did not  like him."  After nineteen years  as the Union

          President,  Bramble's  counsel  explained,  he  had  made  enough

          enemies that "[the Union]  wanted to get  rid of him for  several

          reasons."   For over a  year, Bramble had continued  as President

          after failing to win a majority in the presidential election, and

          there is  no evidence  that his popularity  was increasing.   The

          transcript of  the  Union  meeting at  which  the  amendment  was

          adopted reveals that Bramble was perceived by  various members of

          the  Union  as  being  insulated,  greedy,  uncommunicative,  and

          generally untrustworthy.   It  is not  for this  or any  court to

          determine the character of the plaintiff in this case, but  it is

          relevant that the Union members were critical of their President.


                                         -8-














          None of the members who spoke out against Bramble on that evening

          criticized him as being too old for his job.  In the face of this

          evidence  that the majority of  the union members were displeased

          with Bramble's presidency, and due to the lack of any evidence to

          the  contrary, we reject Bramble's claims of disparate treatment.

          In  essence, he failed  to establish a  key element of  his prima

          facie   case  of  disparate  treatment  --  that  "his  work  was

          sufficient to meet his employer's legitimate expectations."3

                    Bramble argues that  even if the  Union wanted to  oust

          him as president for reasons other than age, it violated the ADEA

          when it implemented its new "active pay status" salary  plan.  He

          alleges that the plan "constitutes a form of overt discriminatory

          animus" because retirement status is  tied to age.   Essentially,

          Bramble argues  that because  older people  are  the only  people

          eligible for  retirement, and  because the  new salary  structure

          would have the primary effect of discouraging retired people from

          seeking the Union presidency, the  new salary structure is per se

          age discrimination.   However,  Bramble's argument  fundamentally

          misinterprets Hazen  Paper v. Biggens,  507 U.S. 604  (1993), the
                        ____________    _______

          most recent Supreme Court case on this issue.

                    In  Hazen  Paper,  the  Court  considered  "whether  an
                        ____________

          employer violates  the ADEA by  acting on the basis  of a factor,

          such  as  an  employee's pension  status  or  seniority,  that is

          empirically correlated  with age."  Id.  at 608.  In  holding for
                                              ___
                              
          ____________________

          3   The Union has  since amended its  constitution to provide for
          run-off elections so that no President will ever again be elected
          without winning a majority vote.

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          the employer  in that case, the Court clarified that "there is no

          disparate treatment under the ADEA when the factor motivating the

          employer is some feature other than the employee's age."   Id. at
                                                                     ___

          609.  The reasoning behind the Court's decision was that "age and

          years of  service are analytically distinct, an employer can take

          account of one while ignoring the other, and thus it is incorrect

          to  say that a decision based on  years of service is necessarily

          'age based.'"  Id. at 611.
                         ___

                    Despite  Bramble's  attempts   to  distinguish  pension

          status from "active pay status," the analysis under the ADEA must

          be the same.  While retired postal workers likely outnumber those

          postal workers on  disability or unpaid  leave, the fact  remains

          that the  group  negatively affected  by  the active  pay  status

          policy  is "analytically distinct"  from the group  of retirement

          aged  postal employees.   In  other  words, there  is a  positive

          correlation between active pay status and age,  but one is not an

          exact proxy for the other.

                    Hazen Paper explains that where  an employment decision
                    ___________

          is premised  upon  an age-correlated  but  analytically  distinct

          factor, a  violation of the  ADEA has occurred  only if there  is

          additional evidence that  the employer was  motivated by an  age-

          discriminatory animus.  Id. at 612-13.  As discussed above, there
                                  ___

          is  no such  evidence in  this case.   The  plaintiff's disparate

          treatment claim must fail.

          III.  Disparate Impact
          III.  Disparate Impact




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                    Bramble  also   claims  that  the  Union's  new  salary

          structure has a "disparate impact" on older persons  in violation

          of the ADEA.   A "disparate  impact" claim involves  "'employment

          practices that are facially neutral in the treatment of different

          groups  but  that in  fact fall  more harshly  on one  group than

          another and cannot be justified by a business necessity.'"  Hazen
                                                                      _____

          Paper, 507 U.S.  at 609, quoting Teamsters v.  United States, 431
          _____                    _______ _________     _____________

          U.S.  324, 335-36,  n.15 (1977).    Statistics comparing  persons

          holding at-issue jobs and composition of qualified job applicants

          are commonly a basic component of  a disparate impact claim.  See
                                                                        ___

          Wards  Cove Packing  Co., Inc.  v. Atonio,  490 U.S.  642, 650-51
          ______________________________     ______

          (1989).  As the Supreme  Court has repeatedly reminded, there has

          been  no  definitive  interpretation  of  the  applicability   of

          disparate impact analysis to the ADEA.  See Hazen Paper, 507 U.S.
                                                  ___ ___________

          at 610;  Markham v. Geller,  451 U.S. 945 (1981)  (Rehnquist, J.,
                   _______    ______

          dissenting from denial  of certiorari).  Furthermore,  this Court

          has never  addressed the question.   However, this case  does not

          present  this  Court  with  a  proper occasion  to  take  up  the

          question, because, even  assuming arguendo that these  claims are
                                            ________

          viable under  the ADEA, it  is plainly apparent that  Bramble has

          insufficient evidence to support his claim.

                    In this case,  the effect of the  questioned employment

          practice has  not fallen on  a group at  all, but on  one person.

          Only the president's salary was  modified by the amendment.  Thus

          it is undisputed that the only person affected by the  active pay

          status policy  was Bramble.   Where an employer targets  a single


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          employee and  implements a  policy which  has, to  date, affected

          only that one employee, there is  simply no basis for a disparate

          impact claim.

                    Instead, it appears  that Bramble's  claim is  actually

          prospective, i.e.,  he argues that  it is apparent "on  its face"

          that  the  active  pay  status  policy will  have  a  foreseeable
                                                 __________

          disparate impact.   However, proper disparate impact  claims only

          involve facially neutral policies.   See Hazen Paper, 507 U.S. at
                           _______             ___ ___________

          609.   Therefore, Bramble's disparate impact claim actually folds

          into his failed disparate treatment claim.   See supra.  Thus, we
                                                       ___ _____

          need  not  address  whether  the  Union  had  shown  a  "business

          necessity"  for its  new policy,  the issue  which  persuaded the

          district court to grant summary judgment on this disparate impact

          claim.  See Bramble, 963 F. Supp. at 98-102. 
                  ___ _______

          IV.  Reasonable Notice
          IV.  Reasonable Notice

                    Bramble  argues  that  the district  court's  award  of

          summary judgment failed to meet  the requirements of Fed. R. Civ.

          P.  56(c) entitling  the party opposing  summary judgment  to ten

          days notice and an opportunity to respond.  See Stella v. Town of
                                                      ___ ______    _______

          Tewksbury, 4  F.3d 53, 56  (1st Cir. 1993).   He argues  that the
          _________

          district court awarded  summary judgment on two grounds that were

          not discussed  in  the Union's  Motion  for Summary  Judgment  --

          namely  that there  was no  evidence of discriminatory  animus as

          required  by Hazen  Paper and  that the  Union had  established a
                       ____________

          business  necessity  for  its  new  salary  structure.    Bramble

          contends  that  the   ruling  thus  conflicted  with   the  well-


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          established principle that a trial court must give notice to both

          parties of any issues it will be considering for summary judgment

          that  exist outside of the  original Motion for Summary Judgment.

          See Stella, 4 F.3d at 56.
          ___ ______

                    "'The purpose of  Rule 56 (c)  is to  allow a party  to

          have a  meaningful opportunity  to challenge  a summary  judgment

          motion.'"   Delgado-Biaggi v.  Air Transport Local  501, 112 F.3d
                      ______________     ________________________

          565, 567 (1st Cir. 1997)  (quoting C a. Petrolera Caribe, Inc. v.
                                             ___________________________

          Arco  Caribbean,  Inc.,  754  F.2d  404,  409  (1st  Cir. 1985)).
          ______________________

          Indeed, where  a party  did not have  an adequate  opportunity to

          address the rationale behind the summary judgment in the district

          court, we  will not address the substance of the claims on appeal

          because "'leapfrogging to the merits would display  much the same

          disregard for  established  protocol  that  marred  the  district

          court's  performance.'"  Delgado-Biaggi, 112 F.3d at 568 (quoting
                                   ______________

          Stella, 4 F.3d  at 55).  However,  while a party must  receive an
          ______

          adequate  opportunity to  challenge  the  general  grounds  of  a

          prospective award of  summary judgment, a party need  not have an

          opportunity to  address every step  of the reasoning  employed or

          every  case relied  upon by  the district court.   In  this case,

          Bramble filed two  briefs over the course of two  months in which

          he attempted  to distinguish Hazen  Paper, the case on  which the
                                       ____________

          district  court  and  this court  ultimately  rely  in dismissing

          Bramble's  disparate treatment claim.  Since his disparate impact

          claim  merely extends from this failed disparate treatment claim,

          Bramble's  inability to successfully  distinguish Hazen Paper was
                                                            ___________


                                         -13-














          fatal to  both claims.  Thus we reject Bramble's argument that he

          was denied reasonable notice.

                    For  the reasons  stated herein,  the district  court's

          award of summary judgment is affirmed.
                                       ________














































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